                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 BRIANNA BOE, et al.,

          Plaintiffs,

                 v.
                                                    No. 2:22-cv-00184-LCB-CWB
 STEVE MARSHALL, et al.,

          Defendants.



                      MOTION FOR ADMISSION PRO HAC VICE

      Pursuant to Local Rule 83.1(b), Barry A. Ragsdale, of Dominick Feld Hyde,

PC, a member in good standing of the Alabama Bar and the United States District

Court for the Middle District of Alabama, hereby moves this Honorable Court for

entry of an order admitting Dylan M. Silva (“Mr. Silva”) of Covington & Burling,

LLP, to practice before the Court pro hac vice on behalf of the American Academy

of Pediatrics, World Professional Association for Transgender Health

(“WPATH”), and Endocrine Society (collectively, “amici”) in the above-captioned

matter.

      1.         Mr. Silva is an attorney who regularly practices law in the United

States District Court for the Northern District of California. Mr. Silva is an associate

in the law firm of Covington & Burling LLP, Salesforce Tower, 415 Mission Street,
Suite 5400, San Francisco, CA 94105. Mr. Silva’s telephone number is 415-591-

6000 and his email address is dsilva@cov.com.


      2.       Mr. Silva’s Certificate of Good Standing from the United States District

Court for the Northern District of California is attached hereto as Exhibit A.


      3.       Mr. Silva is a member in good standing and eligible to practice before

every court to which he is admitted.


      WHEREFORE, Movant respectfully requests that this Honorable Court

enter an order granting Mr. Silva leave to appear pro hac vice on behalf of amici in

this matter.
Dated: December 28, 2022                Respectfully submitted,

                                        /s Barry A. Ragsdale
                                        Barry A. Ragsdale
                                        ASB 2958-A23B

Cortlin H. Lannin (CA Bar No. 266488)   D. Jean Veta (D.C. Bar No. 358980)
(admitted pro hac vice)                 (admitted pro hac vice)
COVINGTON & BURLING LLP                 COVINGTON & BURLING, LLP
Salesforce Tower                        One CityCenter
415 Mission St., Suite 5400             850 Tenth St., N.W.
San Francisco, CA 94105                 Washington, D.C. 20001
Phone: (415) 591-6000                   Phone: (202) 662-6000
clannin@cov.com                         jveta@cov.com


Barry A. Ragsdale (ASB 2958-A23B)
Robert S. Vance III (ASB 9916-B11Q)
DOMINICK FELD HYDE, P.C.
1130 22nd Street South Ridge Park
Suite 4000
Birmingham, AL 35205
Phone: (205) 536-8888
BRagsdale@dfhlaw.com
RVance@dfhlaw.com
                          CERTIFICATE OF SERVICE

      I hereby certify that on December 28, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record.




                                             /s Barry A. Ragsdale
                                             Of Counsel
EXHIBIT
   A
